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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                      January 23, 2025
                    IN THE UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                                           ORDER

       Plaintiff, a veteran litigant proceeding pro se, initiated this case in state court

on December 21, 2023, as part of her approximately 14-year effort to thwart

foreclosure on residential property located in Kingwood, Texas (Property).1 ECF 1-

4.    Before the Court is PHH Mortgage Corporation’s Motion for Summary

Judgment, which is addressed in a separate Memorandum and Recommendation.2

ECF 27. Plaintiff has filed a Motion for Leave to Supplement Plaintiff’s Response

to PHH Mortgage Corporation’s Motion for Summary Judgment. ECF 51.

       Plaintiff has filed a Summary Judgment Response (ECF 35) and a Surreply

(44). Plaintiff presents no good cause for granting leave to file a supplement to her

Response. The proposed Supplement offers no arguments that could not have been


1
  The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
2
  The Court has dismissed all other Defendants. ECF 23.
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raised in the Surreply. Further, the Court has reviewed the proposed Supplement

and determined that it raises no meritorious arguments.

       At this point, Plaintiff has been granted an extension of time to respond, the

Motion for Summary Judgment has been fully briefed, and the issues are ripe for

determination. See ECF 27; ECF 31; ECF 35; ECF 40; ECF 44. It is therefore

       ORDERED that Plaintiff’s Motion for Leave to Supplement Plaintiff’s

Response to PHH Mortgage Corporation’s Motion for Summary Judgment (ECF 51)

is DENIED.


Signed on January 23, 2025, at Houston, Texas.



                                                             Christina A. Bryan
                                                        United States Magistrate Judge




                                                 2
